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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )
                                              )
               vs.                            )                8:05CR162
                                              )
GENARO FAVALA RAMIREZ,                        )                  ORDER
RUBEN LOPEZ CAZARES and                       )
HILARIO FELIX,                                )
                                              )
                      Defendants.             )


         Defendant Genaro Favala Ramirez’s motion to continue (Filing No. 128) is granted.
         IT IS ORDERED that the hearing regarding the Motion to Dismiss (Filing No. 106)
is continued to April 6, 2006 at 1:00 p.m. before Magistrate Judge Thomas D. Thalken,
Courtroom No. 7, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska.
         Since this is a criminal case, the defendant must be present unless excused by the
Court.
         The hearing currently scheduled for defendants Ruben Lopez Cazares and
Hilario Felix regarding the Motion for Bill of Particulars (Filing Nos. 110 and 116) is
still scheduled as planned on March 28, 2006 at 1:30 p.m.
         DATED this 27th day of March, 2006.


                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
